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                             UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF NEW YORK

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VIRGINIA L. GIUFFRE,

        Plaintiff,
v.
                                                                                                    15-cv-07433-RWS
GHISLAINE MAXWELL,

        Defendant.


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             DEFENDANT’S MOTION FOR LEAVE TO FILE A SUR-REPLY
                        OR, ALTERNATIVELY, TO STRIKE
           PLAINTIFF’S MISREPRESENTATIONS OF FACT TO THE COURT




                                                                                             Laura A. Menninger
                                                                                             Jeffrey S. Pagliuca
                                                                                             HADDON, MORGAN, AND FOREMAN, P.C.
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       Q. Do you know what happened during the massage appointments with Jeffrey
       Epstein and Virginia Roberts?
       A. No.
       Q. Were you ever present to view a massage between Jeffrey Epstein and Virginia
       Roberts?
       A. I don't recollect ever seeing Virginia and Jeffrey in a massage situation.
       Q. Do you ever recollect seeing them in a sexual situation?
       A. I never saw them in a sexual situation.
       Q. Did you ever participate in sex with Virginia Roberts and Jeffrey Epstein?
       A. I never ever at any single time at any point ever at all participated in anything
       with Virginia and Jeffrey. And for the record, she is an absolute total liar and you
       all know she lied on multiple things and that is just one other disgusting thing she
       added.
(4/22/16 Tr. at 75-76). The Palm Beach State’s Attorney’s Office, the Palm Beach Police

Department and the Royal Palm Beach Police Departments all likewise have never concluded

that Plaintiff was a “child victim of sexual abuse.” Rather their reports reflect Plaintiff’s false

allegations of being a “child victim of sexual abuse” in situations such as getting in trouble for

running away from home, getting in trouble for not attending school, getting in trouble for using

alcohol and marijuana. There is absolutely nothing “undisputed” about Plaintiff’s claim of

victimhood.

       Furthermore, Plaintiff left unredacted her assertion that it is “undisputed” that Ms.

Roberts was the child victim of sexual abuse, leaving the mis-impression with the public that Ms.

Maxwell has in some way conceded that to be true. She has not.

       3.       “Detective Joseph Recarey … testified that Defendant procured underage girls

for Epstein” (Reply at 3, n.4). In fact, Detective Recarey testified that none of the underage girls

interviewed in connection with his investigation into Epstein claimed to have been hired by

Maxwell; in fact, none of them mentioned Ms. Maxwell at all. The two women he interviewed

who were hired by Ms. Maxwell both said they gave professional, adult massages to Epstein.


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          Ms. Maxwell seeks leave of the Court to file a Sur-Reply to refute these baseless, false

misrepresentations to the Court that Plaintiff included within her Reply, if Plaintiff does not

honor her obligations under Rule of Professional Conduct 3.3 to withdraw them of her own

accord.

          Dated: August 25, 2016.



                                                   Respectfully submitted,



                                                   /s/ Laura A. Menninger
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                                                   Jeffrey S. Pagliuca (pro hac vice)
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                                CERTIFICATE OF SERVICE

I certify that on August 25, 2016, I electronically served this Defendant’s Motion For Leave To
File A Sur-Reply Or, Alternatively, To Strike Plaintiff’s Misrepresentations Of Fact To The
Court via ECF on the following:

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